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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


ESTATE OF MARK PARSONS, et al.,      :
                                     :
          Plaintiffs,                :
                                     :
     v.                              : Civil Action No. 07-1847 (JR)
                                     :
THE PALESTINIAN AUTHORITY, et        :
al.,                                 :
                                     :
          Defendants.                :


                           MEMORANDUM ORDER

          This action against the Palestinian Authority (PA) and

the Palestinian Liberation Organization (PLO) is brought by the

estate of Mark Parsons, his siblings, and the estate of his

parents under the Antiterrorism Act of 1991 (ATA), 18 U.S.C.

§ 2331 et seq, and asserts as well the state law tort claim of

intentional infliction of emotional distress (IIED).          For the

reasons set forth below, the defendants’ motion to dismiss the

IIED claim must be granted.     The rest of the motion to dismiss is

denied.

                               Background

          On a motion to dismiss, the allegations of the

complaint are taken as true.      Here is what the complaint alleges:

On October 15, 2003, a remote control bomb blew up Parsons’

vehicle near the Beit Hanoun junction in northern Gaza,

Palestine, killing him.     Parsons was part of a security detail
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escorting United States diplomats to interview applicants for

Fulbright scholarships.

             The PLO and PA, through the Palestinian Preventive

Security (PPS) organization, maintained bomb and munitions

factories in Gaza and elsewhere.         Arms and bombs from these

factories were given by PPS to various named and unnamed

terrorist organizations, including Hamas, the Palestinian Islamic

Jihad, and the Al-Aqsa Martyrs Brigades for the purpose of

carrying out terrorist acts.         Parsons was killed by one of these

bombs.     It was detonated by a person or persons who conspired

with one or both of the defendants to attack Parsons’ convoy in

an act intentionally directed at the United States.

             Plaintiffs’ ATA claims are that the defendants

conspired with and aided and abetted Parsons’ murderers, and that

they provided material support to terrorists, including the

terrorists who killed Parsons, in violation of 18 U.S.C. §§ 2339A

and 2339B.     Plaintiffs’ IIED claim invokes this Court’s

jurisdiction under 28 U.S.C. 1367.

             Defendants assert five grounds for dismissal:1 (1) that

this court lacks personal jurisdiction over them; (2) that the

ATA counts fail to allege facts from which liability can


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 Defendants also argue that plaintiffs’ allegation of failure to
provide adequate security in Gaza failed to state a claim under
the ATA (or that such an omissions theory is barred by the tenets
of tort law and/or the “political question doctrine”) but the
complaint does not make that claim.

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plausibly be attributed to defendants; (3) that the defendants

are analogous to a municipality and cannot be held vicariously

liable for the acts of their agents; (4) that plaintiffs’

supplemental state tort claim fails because District of Columbia

law does not allow for an unincorporated association to be sued

under its own name; and (5) that plaintiffs’ claims are barred by

the doctrine of laches.

                                Analysis

Personal Jurisdiction

          A plaintiff need only plead a prima face case of

personal jurisdiction.     Sisso v. Islamic Republic of Iran, 448

F.Supp.2d 76, 87 (D.D.C. 2006).      When deciding a Rule 12(b)(2)

motion, the court may look to information beyond that contained

in the complaint to determine if jurisdiction exists.          Land v.

Dollar, 330 U.S. 731, 735 n. 4 (1947); Artis v. Greenspan, 223

F.Supp.2d 149, 152 (D.D.C. 2002).

          Rule 4(k)(2) “permits a federal court to exercise

personal jurisdiction over a defendant (1) for a claim arising

under federal law, (2) where a summons has been served, (3) if

the defendant is not subject to the jurisdiction of any single

state court, (4) provided that the exercise of federal

jurisdiction is consistent with the Constitution (and laws) of

the United States.”     Mwani v. bin Laden, 417 F.3d 1, 10 (D.C.

Cir. 2005).   These defendants do not contest service of process


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or argue that they are subject to the jurisdiction of any single

state court.    Instead, they advance due process arguments of

insufficient contacts and constitutionally cognizable unfairness.

“Whether the exercise of jurisdiction is consistent with the

Constitution turns on whether a defendant has sufficient contacts

with the nation as a whole to satisfy due process.”          Mwani, 417

F.3d 1 at 11.

          Plaintiffs allege that defendants maintain offices and

have agents in the District of Columbia.        In their opposition to

the motion to dismiss, they allege various specific and ongoing

contacts that defendants have had with the United States in

recent years.    Among these are one Mr. Safieh, who has held

himself out to be the chief spokesman and representative of both

the PLO and PA in the United States, lobbying, speaking and

giving interviews to further the purposes of both defendants.

Mr. Safieh resides in Washington, D.C., and was served here.

          As for unconstitutionally cognizable unfairness, the

murder of a U.S. citizen for political purposes is an act from

which the resultant injury in the U.S. is a highly foreseeable

result, such that defendants should “reasonably anticipate being

haled into court” here.     Burger King Corp. v. Rudzewicz, 471 U.S.

462, 474 (1985).    It is also a plausible inference from the facts

alleged in the complaint that the bombing of Parsons’ convoy,

which included U.S. diplomats, was an act purposefully directed


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at the United States.       When a defendant purposefully directs an

act at a forum “the Supreme court has ‘consistently rejected the

notion that an absence of physical contacts can defeat personal

jurisdiction.”      Mwani v. bin Laden, 417 F.3d 1, 12-3 (C.A.D.C.

2005) (quoting Burger King Corp. v. Rudzewicz, 471 U.S. 462 at

476.).     The complaint alleges more than enough contacts between

the defendants and the United States to support personal

jurisdiction.

             Nor does the assertion of personal jurisdiction in any

way offend notions of fair play and substantial justice, despite

the burdens that litigating in the United States will impose upon

defendants.      Ashai Metal Industry Co. v. Superior Court of

California, 480 U.S. 102, 113 (1987) (“A court must consider the

burden on the defendant, the interests of the forum State, and

the plaintiff's interest in obtaining relief.            It must also weigh

in its determination ‘the interstate judicial system's interest

in obtaining the most efficient resolution of controversies; and

the shared interest of the several States in furthering

fundamental substantive social policies.’”) (internal citation

omitted).     Whatever uncertainty there might be about the weight

to be assigned the burden upon the defendant, here it has been

resolved legislatively.        18 U.S.C.A. § 2334(d) (“Convenience of

the Forum. - The district court shall not dismiss any action

brought under section 2333 of this title on the grounds of the


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inconvenience or inappropriateness of the forum chosen, unless -

(1) the action may be maintained in a foreign court that has

jurisdiction over the subject matter and over all the defendants;

(2) that foreign court is significantly more convenient and

appropriate; and (3) that foreign court offers a remedy which is

substantially the same as the one available in the courts of the

United States.”).       The defendants have made no showing, no effort

of any kind, to bring themselves within these exceptions in this

case or (apparently) in any of the other cases in which they have

appeared.2

Rule 12(b)(6) Motion to Dismiss the ATA Claims

             Defendants argue that plaintiffs’ ATA claims are not

“plausible” under the pleading standard articulated in Bell

Atlantic v. Twombley, 127 S.Ct. 1955 (2007).           They characterize

the complaint as containing nothing more than formulaic

recitations of liability unsupported by legal or factual grounds;

they assert that the conspiracy count fails to specify, among

other things, how or when the bomb that killed Parsons was

manufactured and by whom, or even which terrorists organization

carried out the attack; and they attack the aiding and abetting

and material support counts, on similar grounds.


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     Gilmore v. Palestinian Interim Self Government Authority,
et al., 422 F.Supp 2d 96, 102 n.4 (D.D.C. 2006); Biton v.
Palestinian Interim Self Government Authority, 310 F. Supp. 2d
172, 179-80 n.6 (D.D.C. 2004); Estates of Ungar ex. Rel Strachman
v. Palestinian Auth., 153 F.Supp. 2d 76, 88 (D.R.I. 2001).

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          The complaint is concededly sparse, but it makes

allegations that, if true, would comprise the elements of

Plaintiffs’ claims.    The ATA provides that:

          Any national of the United States injured in
          his or her person, property, or business by
          reason of an act of international terrorism,
          or his or her estate, survivors, or heirs, may
          sue therefor in any appropriate district court
          of the United States and shall recover
          threefold the damages he or she sustains and
          the cost of the suit, including attorney’s
          fees.

18 U.S.C. § 2333(a).    Within this statutory scheme,

“international terrorism” is defined as:

          activities that—(A) involve violent acts or
          acts dangerous to human life that are a
          violation of the criminal laws of the United
          States or of any State, or that would be a
          criminal violation if committed within the
          jurisdiction of the United States or of any
          State; (B) appear to be intended— (I) to
          intimidate or coerce a civilian population;
          (ii) to influence the policy of a government
          by intimidation or coercion; or (iii) to
          affect the conduct of a government by mass
          destruction, assassination, or kidnapping; and
          (C) occur primarily outside the territorial
          jurisdiction   of  the   United   States,   or
          transcend national boundaries in terms of the
          means by which they are accomplished, the
          persons they appear intended to intimidate or
          coerce,   or  the   locale   in  which   their
          perpetrators operate or seek asylum.

18 U.S.C. § 2331(1).

          This language casts a broad net, generally recognized

by the judges of this and other courts to reach those who aid and

abet, conspire with, or provide material support in violation of


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18 U.S.C. § 2339A and § 2339B to the terrorist organization that

directly causes a plaintiff’s injuries. Boim v. Quranic Literacy

Inst. & Holy Land Found. for Relief & Dev., 291 F.3d 1000, 1011-

1022 (7th Cir. 2002) (Boim I); Burnett v. Al Baraka Inv. and

Development Corp., 274 F.Supp.2d 86 (D.D.C. 2003); Linde v. Arab

Bank, PLC, 384 F.Supp.2d 571(E.D.N.Y. 2005).

          The next question is whether the complaint meets

Twombley’s pleadings requirements.        A complaint that does not

contain “direct allegations . . . ‘must contain . . . inferential

allegations,’”   Aktieselskabet AF 21. Nov. 2001 v. Fame Jeans

Inc., 525 F.3d 8, 17 (D.C. Cir. 2008) (citing Twombley, 127 S.Ct.

at 1996, 1969), that must in turn be “plausible.”         Twombley, 127

S.Ct. at 1971.   Analysis begins with a recitation of the elements

of plaintiffs’ claims.     Title 18 U.S.C. § 2339A(a) proscribes

“provid[ing] material support or resources . . . knowing or

intending that they are to be used in preparation for, or in

carrying out, a violation.”     The definition of “material support

or resources” is broad and includes “any property, tangible or

intangible, or service, including currency or monetary

instruments or financial securities, financial services, lodging,

training, expert advice or assistance, safehouses, false

documentation or identification, communications equipment,

facilities, weapons, lethal substances, explosives, personnel (1

or more individuals who may be or include oneself), and


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transportation, except medicine or religious materials.”          18

U.S.C.A. § 2339A(b)(1).     Title 18 U.S.C. § 2339B (a) makes

unlawful “knowingly providing material support or resources to a

foreign terrorist organization” or “attempt[ing] or conspir[ing]

to do so” with “knowledge that the organization is a designated

terrorist organization” or has engaged or engages in certain

terrorist activities.

          The elements of aiding and abetting are: “(1) the party

whom the defendant aids must perform a wrongful act that causes

an injury; (2) the defendant must be generally aware of his role

as part of an overall illegal or tortious activity at the time

that he provides the assistance; (3) the defendant must knowingly

and substantially assist the principal violation.”         Halberstam v.

Welch, 705 F.2d 472, 477 (D.C.Cir.1983).        In general, “a joint

venturer's liability extends to all reasonably foreseeable acts

done in connection with the tortious act that the person

assisted” commits.    Burnett v. Al Baraka Inv. and Development

Corp., 274 F.Supp.2d 86, 105 (D.D.C. 2003) (citing Halberstam,

705 F.2d at 484).    The elements of civil conspiracy are: “(1) an

agreement between two or more persons; (2) to participate in an

unlawful act, or a lawful act in an unlawful manner; (3) an

injury caused by an unlawful overt act performed by one of the

parties to the agreement; (4) which overt act was done pursuant

to and in furtherance of the common scheme.”        Halberstam, 705


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F.2d at 477 (citation omitted).      “A conspirator may be liable for

an injury even if he or she did not plan or know about the

particular overt act that caused the injury, ‘so long as the

purpose of the act was to advance the overall object of the

conspiracy.’”   Id. at 487.

          Imposition of secondary liability under the ATA

requires knowledge that the organization in question commits acts

of terrorism and intent to further these violent activities.

Burnett v. Al Baraka Inv. and Development Corp., 274 F.Supp.2d 86

at 106.   “It is well-settled that the issue of intent is one for

the jury to decide, and not an appropriate basis for ruling on a

motion to dismiss.”    Gilmore v. The Palestinian Interim Self-

Government Authority, 422 F.Supp.2d 96, 102 (D.D.C. 2006);

(citing McCormick v. United States, 500 U.S. 257, 270, 111 S.Ct.

1807, 114 L.Ed.2d 307 (1991)).     Adhering to traditional theories

of tort law infused by Congress into the ATA, a plaintiff’s

injuries must also be the reasonably foreseeable result of a

defendant’s acts.     Boim I, 291 F.3d 1000 at 1012.

          Citing Boim v. Quranic Literacy Inst. & Holy Land

Found. for Relief & Dev., 511 F.3d 707 (C.A. 7 2007) (BOIM II),

defendants argue that plaintiffs must also establish a “cause in

fact” link between their acts and the alleged injury.         The

decision in Boim II was vacated by the en banc Seventh circuit

after defendants submitted their briefs in this case.         Order,


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Boim v. Quranic Literacy Inst. & Holy Land Foundation for Relief

and Dev., No. 00-C-2905, (7th Cir. June 16, 2008).         The exact

contours of causality under the ATA have not yet been defined

with certainty.   At this stage of the litigation, however, “[i]t

is too soon to attempt a precise formulation of the level of

knowledge and intent or certainty of causation that will be

necessary to get plaintiffs' claims to a jury.”        Burnett, 274

F.Supp.2d 86 at 102.    The ultimate resolution of these questions

will be informed by the “general common law tort principles” that

Congress sought to codify in enacting § 2333.        Boim I, 291 F.2d

1000 at 1012.   Suffice it to say that plaintiffs have made

allegations of fact that create an adequate causal link between

the acts and the injuries when they allege: (1) that the PLO and

PA through the PPS operated bomb and munitions factories in Gaza;

(2) that the PPS supplied munitions from these factories to

various terrorist organizations to further their terrorist

activities; (3) that the PLO and PA supplied money and other

assistance to these terrorists groups to further their violent

ends; (4) that the bomb that killed Parsons came from a PPS

factory; and (5) that the PLO and PA provided haven for

terrorist, including those to which they provided bombs and

monetary support.

          Plaintiffs’ inability to name the organization that

killed Parsons does not doom their claims at this early stage.


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Nor does defendants’ theory that they should be given the same

immunity against vicarious liability as municipal governments in

the face of consistent findings that they are not, in fact

governments.     Biton v. Palestinian Interim Self Government

Authority, 310 F. Supp. 2d 172, 179-80 n.6 (D.D.C. 2004); Estates

of Ungar ex. Rel Strachman v. Palestinian         Auth., 153 F.Supp. 2d

76, 88 (D.R.I. 2001).

            The provision of bombs and other munitions and money to

terrorist organizations is, of course, the provision of material

support and gives rise to considerably more than a “plausible”

inference of intent to further violent activities, from which

murder is certainly a foreseeable result.         The circumstances of

Parsons death - including the facts that he was in a security

convoy for U.S. diplomats in Gaza that was attacked by a remote

control bomb - gives ample support to the plausible inference

that the attack was intended to “intimidate or coerce a

population” and “influence the policy of a government.”            18

U.S.C. § 2331.

Laches

            There is an apparent circuit split over whether the

doctrine of laches will be applied in a suit sounding solely in

law.   Compare Lyons Partnership, L.P. v. Morris Costumes, Inc.,

243 F.3d 789, 797 (4th Cir.2001) (laches applies only in equity

cases) with Chirco v. Crosswinds Communities, Inc., 474 F.3d 227


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(6th Cir. 2007) (laches can be asserted in both equity and law).

There is no controlling precedent in this Circuit.

          The question is an academic one, however, because the

facts of this case would not support the defense of laches.

Defendants have shown neither lack of diligence by the plaintiffs

nor prejudice to themselves, Pro-Football, Inc. v. Harjo, 415

F.3d 44, 47 (D.C. Cir. 2005), and the complaint was filed within

the statutory period of limitations.

State Tort Law Claims

          Fed. R. Civ. P. 17(b) provides that the “state law

where the court is located” determines the ability “to sue or be

sued” for an “unincorporated association,” at least for non-

federal claims.   See Fed R. Civ. P. 17(b)(3)(A).        Under District

of Columbia law, unincorporated associations cannot be sued under

their own name.   Sisso v. Islamic Republic of Iran, 448 F.Supp.2d

76, 87 (D.D.C. 2006).

          The PLO and PA have been treated as unincorporated

associations for purposes of service under Fed. R. Civ. P. 4(h).

Estate of Klieman v. Palestinian Authority, 467 F.Supp.2d 107,

113 (D.D.C. 2006); Estates of Ungar ex rel. Strachman v.

Palestinian Authority, 153 F.Supp.2d 76 (D.R.I. 2001).

Plaintiffs advance no reason why defendants should not be so

treated under Rule 17(b).     See Sisso, 448 F.Supp.2d 76 at 91

(holding that as an unincorporated association Hamas could not be


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sued in the District of Columbia); see also 6 Am. Jur. 2d

Associations and Clubs § 1(“At common law, an unincorporated

association is not an entity, and has no status distinct from the

persons composing it, but is rather a body of individuals acting

together for the prosecution of a common enterprise without a

corporate charter but upon methods and forms used by

corporations.”)

                              Conclusion

           For the reasons set out above, it is ordered that the

defendants’ motion to dismiss [#7] the IIED claim is granted and

the rest of the motion to dismiss is denied.        The Clerk is

directed to set a status conference, to be held within the next

30 days.




                                 JAMES ROBERTSON
                           United States District Judge




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